
*208OPINION.
Trammell :
With respect to the loss by fire, the question is, When was the loss sustained? The fire started on the night of December 30, 1919, and there was some fire and smoke on the premises where the building stood after midnight of December 31, but at that time the building had been destroyed. What remained after that time was of no value. It is true that the exact amount of the loss was not ascertained because the insurance had not been adjusted. It is not material when the amount of the loss was ascertained.
On the question of the amount of the deduction allowable on account of the exhaustion, wear and tear of assets, the evidence introduced was not sufficient to overcome the presumption of the correctness of the determination of the Commissioner.

Judgment will he entered for the Oom-missioner.

